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   United States of America
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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:18-CR-00058-JAM
12                                 Plaintiff,           STIPULATION AND ORDER SETTING
                                                        BRIEFING SCHEDULE FOR DEFENDANT’S
13                           v.                         MOTION FOR RECONSIDERATION OF
                                                        PROTECTIVE ORDER.
14   JOHN MICHAEL HERRON,
                                                        DATE: October 30, 2018
15                                 Defendant.           TIME: 9:15 a.m.
                                                        COURT: Hon. John A. Mendez
16

17                                                 STIPULATION
18           WHEREAS, on September 12, 2018, defendant John Michael Herron filed a Notice of Motion
19 and Motion for Reconsideration of Protective Order (ECF 47) (hereinafter, the “Motion”);

20           WHEREAS, the Motion was noticed to be heard before this Court on October 30, 2018;
21           Plaintiff United States of America, by and through its counsel of record, and defendant Herron,
22 by and through defendant’s counsel of record, hereby agree and stipulate to the following briefing and

23 hearing schedule for the Motion:

24           1.      The government’s Opposition to the Motion will be due on October 16, 2018;
25           2.      Defendant’s Reply in support of the Motion will be due on October 23, 2018;
26           3.      The Motion will be heard before this Court on October 30, 2018 at 9:15 a.m.
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        STIPULATION AND [PROPOSED] ORDER SETTING         1
        MOTION BRIEFING SCHEDULE
             Case 2:18-cr-00058-JAM Document 51 Filed 09/17/18 Page 2 of 2


1         IT IS SO STIPULATED.

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3
     Dated: September 14, 2018                  MCGREGOR W. SCOTT
4                                               United States Attorney
5
                                                /s/ AMY SCHULLER HITCHCOCK
6                                               AMY SCHULLER HITCHCOCK
                                                Assistant United States Attorney
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8
     Dated: September 14, 2018                  /s/ KRESTA NORA DALY
9                                               KRESTA NORA DALY
10                                              Counsel for Defendant
                                                JOHN MICHAEL HERRON
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14                                        FINDINGS AND ORDER

15        IT IS SO FOUND AND ORDERED this 14th day of September, 2018.

16
                                                     /s/ John A. Mendez
17                                               THE HONORABLE JOHN A. MENDEZ
                                                 UNITED STATES DISTRICT COURT JUDGE
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     STIPULATION AND [PROPOSED] ORDER SETTING     2
     MOTION BRIEFING SCHEDULE
